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IN THE UNITED sTATEs DISTRICT COURT ` g%-““-
FOR THE wEsTERN DISTRICT oF TENNESSEE 35'%¥2{ :n, _
wEsTERN DIvIsION “”‘ * ”H H»J.
*¢@-Oflw,gsw¢%§

RHODNEY ROBERSON,

Petitioner,
vs. No. 05-2434-Ma/P
DAVID MILLS,

Respondent.

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ORDER TRANSFERRING CASE PURSUANT TO 28 U.S.C. § 224l(d)

 

Petitioner Rhodney' Roberson, Tennessee Department of
Correction prisoner number 210863, an inmate at the West Tennessee
State Penitentiary (“WTSP”) in Henning, Tennessee, filed a pro §§
petition pursuant to 28 U.S.C. § 2254 on June 15, 2005, along with
an application seeking leave to proceed in forma pauperis. Because
the case is being transferrsd, the filing fee issue will be left to
the transferee court. The Clerk shall record the respondent as WTSP
warden David Mills.

Twenty-eight U.S.C. § 224l(d) provides:

Where an application for a writ of habeas corpus is

made by' a person. in custody under the judgment and
sentence of a State court of a State which contains two
or more Federal judicial districts, the application may
be filed in the district court for the district wherein
such person is in custody or in the district court for
the district within which the State court was held which

convicted and sentenced him and each of such district
courts shall have concurrent jurisdiction to entertain

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the application. The district court for the district

wherein such an application is filed in the exercise of

its discretion.and in furtherance of justice may transfer

the application to the other district court for hearing

and determination.
lt is the practice of the federal district courts in Tennessee that
all § 2254 petitions are to be heard in the district in which the
conviction was obtained.

In this petition, Roberson is challenging a sentence that
was obtained in the Gibson County Circuit Court. Gibson County is
in the Eastern Division of the Western District of Tennessee, 28
U.S.C. § 123(C)(l).

Therefore, it is hereby ORDERED, pursuant to 28 U.S.C. §§
l406(a) and 2241(d), that this case is TRANSFERRED, forthwith, to

the Eastern Division of the Western District of Tennessee.

IT ls so ORDERED this Q-HW'\ day of June, 2005.

M/M/-

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02434 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Rhodney Roberson

WEST TENNESSEE STATE PENITENTIARY
00210863

480 Green Chapel Road

P.O. Box l 150

Henning, TN 38041--] 15

Honorable Samuel Mays
US DISTRICT COURT

